     Case 4:02-cr-00094-BSM Document 22 Filed 02/04/08 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES

V.                             4:02-cr-00094-WRW-1

JAMES JACKSON


                  MOTION FOR RETROACTIVE APPLICATION

                                            OF

                       AMENDED SENTENCING GUIDELINES


       Comes now the Defendant, James Jackson, by his attorney, Mark Alan Jesse and

for his motion and states:

       1. Defendant was previously sentenced by this court after considering the Pre-

            Sentence Report drafted in accordance with the United States Sentencing

            Guidelines then in effect. He was sentenced to 84 months of imprisonment in

            the Bureau of Prisons with an additional period of supervised release.

       2.   The Guidelines were subsequently amended to address the 100 to 1 disparity

            between powder cocaine and crack cocaine and became effective November

            1, 2007.   Though the Commission has advised delay until March 3, 2008

            judges do not have to wait until March 3 because in accordance with USSG

            1B1.10 because USSG 1B1.10 is a policy statement and policy statements are

            not subject to congressional review and acquiescence. See 28 U.S.C. § 994(p);

            Stinson v. United States, 508 U.S. 36, 40-46 (1993).
Case 4:02-cr-00094-BSM Document 22 Filed 02/04/08 Page 2 of 4




  3.   The Defendant asserts he is entitled to be re-sentenced and request the court to

       do so in accordance with 18 U.S.C. Section 3553 and 3582.

  4. 18 U.S.C. Section 3582 (c) provides:

  Modification of an Imposed Term of Imprisonment.— The court may not

  modify a term of imprisonment once it has been imposed except that—

  in the case of a defendant who has been sentenced to a term of imprisonment
  based on a sentencing range that has subsequently been lowered by the
  Sentencing Commission pursuant to 28 U.S.C. 994 (o), upon motion of the
  defendant or the Director of the Bureau of Prisons, or on its own motion, the court
  may reduce the term of imprisonment, after considering the factors set forth in
  section 3553 (a) to the extent that they are applicable, if such a reduction is
  consistent with applicable policy statements issued by the Sentencing
  Commission.


  5. The district court must consider all relevant statutory criteria in existence

       when a motion under Section 3582(c)(2) is filed, whether or not in existence

       at the time of the original sentencing. See United States v. Mihm, 134 F.3d

       1353, 1355 (8th Cir. 1998); United States v. Reynolds, 111 F.3d 132 (Table) (6

       Cir. 1997); United States v. Williams, 103 F.3d 57, 58-59 (8th Cir.1996);

       Settembrino v. United States, 125 F.Supp.2d 511, 517 (S.D. Fla. 2000). While

       Section 3553(b) essentially rendered Section 3553(a) a nullity at any pre-

       Booker sentencing, Section 3553(a) is now the sentencing law, as interpreted

       by the Supreme Court. Consideration of Section 3553(a) includes the

       amended guideline, the reasons for the amendment, i.e., as a partial remedy to

       address the fact that crack guideline sentences are greater than necessary to

       satisfy sentencing purposes and create unwarranted disparity, USSG, App C,

       Amend. 706 (Nov. 1, 2007); USSC, Report to Congress: Cocaine and Federal
Case 4:02-cr-00094-BSM Document 22 Filed 02/04/08 Page 3 of 4




     Sentencing Policy at 10 (May 2007), and the fact that it was made retroactive

     to best serve the statutory purposes of sentencing.

  6. Application note 1(B) of revised USSG § 1B1.10, p.s. (Mar. 3, 2008 ed.)

     provides that, in determining whether a reduction is warranted at all, and the

     extent of such reduction, the court (i) “shall consider the factors set forth in 18

     U.S.C. § 3553(a),” (ii) “shall consider the nature and seriousness of the danger

     to any person or the community that may be posed by a reduction in the

     defendant’s term of imprisonment,” and (iii) “may consider post-sentencing

     conduct of the defendant that occurred after imposition of the original term of

     imprisonment . . . but only within the limits described in subsection (b).”

     Subsection (b), in turn, states that the court “shall not” impose a term of

     imprisonment “that is less than the minimum of the amended guideline

     range,” except that if the original sentence was below the guideline range, “a

     reduction comparably less may be appropriate.”

  Wherefore, Defendant prays for a re-sentencing and reconsideration of all all facts

  relevant to that determination.

                                                Respectfully submitted,

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    Case 4:02-cr-00094-BSM Document 22 Filed 02/04/08 Page 4 of 4




                            CERTIFICATE OF SERVICE

        I hereby certify that on 2/4/2008, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to
the following:

       AUSA

       John.white2@usdoj.gov


        I hereby certify that on 2/4/2008, I mailed the document and a copy of the Notice
of Electronic Filing (NEF) by United States Postal Service to the following non CM/ECF
participants:




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